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UN|TED STATES DlSTRlCT COURT
MlDDLE DlSTRlCT OF FLOR|DA

 

JACKSONV|LLE DlVlSlON

STEPHEN KNUTH,

Plaintiff,
v. Case No. 3:18-cv-1157-J-39PDB
WELLS FARGO BANK, N.A., l

Defendant. \

/
O R D E R

TH|S CAUSE is before the Court on the parties’ Joint Stipu|ation to Arbitrate
Claims and Stay Action, which the Court construes as a motion to stay. (Doc. 4; Motion
to Stay). The parties agree that this case should be stayed to allow them time to
arbitrate. g at 2.
Accordinglyl it is hereby
ORDERED:
1. The parties’ Joint Stipulation to Arbitrate Claims and Stay Action (Doc. 4) is
GRANTED.

2. The parties shall submit this case to arbitration with the American Arbitration
Association.

3. This case is STAYED pending the completion of the arbitration proceedings
The Clerk of the Court is DlRECTED to administratively close this file pending
further Order by the Court.

4. The parties shall file a status report within thirty (30) days following the

conclusion of the arbitration proceedings. The parties shall tile a joint status

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report within one hundred and eighty (180) days following this Order if
arbitration has not concluded and every one hundred and twenty (120) days
thereafter until arbitration proceedings are completed

DONE and ORDERED in Jacksonvi||e, Florida this Q day of January, 2019.

M.B»W

BR|AN J. DAvis"
United States District Judge

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Copies furnished to:

Counse| of Record
Unrepresented Parties

